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                                                                                                                                 Clyde & Co Clasis Singapore Pte. Ltd.
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By Email                                                                                                                          Marina Bay Financial Centre Tower 3
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                                                                                                                                                 Facsimile: +65 6544 6501
Attn         James Langley / Matthew Turner                                                                                                                www.clydeco.com


                                                                                                                                                 paul.collier@clydeco.com
                                                                                                                                                ikwei.chong@clydeco.com



Our Ref                                                       Your Ref                                                     Date:
PMC/IWC/10220703                                                                                                           8 October 2020


Dear Sirs

POSH SAUDI CO. LTD v DYNAMIC INDUSTRIES SAUDI ARABIA LTD
"POSH ENDEAVOUR" - CHARTERPARTY DATED 1 OCTOBER 2018

      1. We write further to our letter dated 16 September 2020.

      2. Our letter dated 16 September 2020 requested that Dynamic Industries Saudi Arabia Ltd
         ("Charterers") make payment to POSH Saudi Co. Ltd ("Owners") of the principal sum of
         US$3,998,167.80 plus interest and costs awarded by the Tribunal in the Final Arbitration
         Award dated 2 September 2020.

      3. The deadline for any possible appeal to the Final Arbitration Award to be filed has expired,
         meaning that the Award is final and unappealable.

      4. We have not received any response to our letter dated 16 September 2020 and Charterers
         have not made any payments in respect of the sums outstanding to Owners.

      5. Moreover, Charterers have failed to pay the sums of US$25,828 and GBP 525 calculated
         by Owners as their costs in this reference (set out in Annex 1 to this letter and our letter
         dated 16 September 2020). Charterers have also failed to confirm their agreement to pay
         these costs.

      6. Owners therefore put Charterers on notice that:

                    a. Should Charterers fail to confirm their agreement to pay the sums of US$25,828
                       and GBP 525 to Owners within 7 days of the date of this letter, Owners will forthwith
                       apply to the Tribunal for a subsequent Award of Costs;

                    b. Should Charterers fail to pay Owners the principal sum of US$3,998,167.80 and
                       £8,400 in respect of Owners' payment to the Tribunal, together with interest due
                       thereon, within 7 days of the date of this letter, then Owners intend to proceed to
                       take further legal action against the assets of Dynamic Industries Saudi Arabia Ltd
                       and/or against Dynamic Industries Inc under the Parent Company Guarantee.

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                                                                                EXHIBIT "D"
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   7. Owners look forward to hearing from Charterers within 7 days; i.e. by no later than 15
      October 2020.

All Owners' rights remain fully reserved.

Yours faithfully




Clyde & Co Clasis Singapore Pte. Ltd.




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Annex 1: Owners' Statement of Costs
POSH SAUDI CO. LTD v DYNAMIC INDUSTRIES SAUDI ARABIA LTD
"POSH ENDEAVOUR" - CHARTERPARTY DATED 1 OCTOBER 2018

Casehandler     Hourly Rate (US$)   Time          Total (US$)
                                    Attending
                                    Matter
                                    (Hours)

Ik Wei Chong    570                 5.5           3,135
(Partner)

Paul Collier    450                 46.5          20,925
(Senior
Associate)

Asyraf Isnin    340                 5.2           1,768
(Associate)
                                    TOTAL (US$): 25,828


Disbursements: appointment fee of Mr. Edward Mocatta (GBP 350) and 50% of appointment fee of
Mr. Baker-Harber (GBP 175) totalling GBP 525.




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